Case 5:08-cr-00005-GEC-BWC   Document 179   Filed 09/26/08   Page 1 of 9
                             Pageid#: 526
Case 5:08-cr-00005-GEC-BWC   Document 179   Filed 09/26/08   Page 2 of 9
                             Pageid#: 527
Case 5:08-cr-00005-GEC-BWC   Document 179   Filed 09/26/08   Page 3 of 9
                             Pageid#: 528
Case 5:08-cr-00005-GEC-BWC   Document 179   Filed 09/26/08   Page 4 of 9
                             Pageid#: 529
Case 5:08-cr-00005-GEC-BWC   Document 179   Filed 09/26/08   Page 5 of 9
                             Pageid#: 530
Case 5:08-cr-00005-GEC-BWC   Document 179   Filed 09/26/08   Page 6 of 9
                             Pageid#: 531
Case 5:08-cr-00005-GEC-BWC   Document 179   Filed 09/26/08   Page 7 of 9
                             Pageid#: 532
Case 5:08-cr-00005-GEC-BWC   Document 179   Filed 09/26/08   Page 8 of 9
                             Pageid#: 533
Case 5:08-cr-00005-GEC-BWC   Document 179   Filed 09/26/08   Page 9 of 9
                             Pageid#: 534
